Esquire Paulson - Bakersfiald
2700 Centennial Tower

101 Marletta Street

Atlanta, GA 30303

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JEFFREY TRAVIS ESQ.
THE LAW OFFICES OF BORTON FETRINI

342-1 Filed 03/30/10 Page 1
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Telephone (661) 322-2202
Toll Free (800) 300-1214
Fax (866) 590-3205

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Method of Payment

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ices, LLC PO Box 79509, City of industry CA 91718-9509

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Page | of 1

Case 1: O7-ev- 01080-LJO-GSA: Document 342-1 Filed 03/30/10 Page 2 of 69
ee BORTON PETRINI & CONRON LLP, BAKERSFIELD CA

Account: (1000804816)

Date Range: December 04, 2008 - December 31, 2008

Report Format: Summary-Account by Client

Account by Client Database Transactions Docs/Lines

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Certified shorthand Reporters ACCOUNT

3400 Unicorn Road, Sutre 107 . ic : . A
Bakorsfield, California 93303 ‘ -
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JEFFREY A, TRAVIS

"A

INVOICE

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ics | 9461 2/4/2009 7435
" Job Date Case No.
i? 5422/2009 LO7CV 01080 L30-WMW
Case Neme

McINTOSH VS, NORTHERN CALIFORNIA UNIVERSAL
ENTERPRISES COMPANY

BORTON, PETRINI Payment Terms
5060 CALIFORNIA AVENUE, 7TH FLOOR Net 30
Bakersfield, CA 93309
ORIGINAL AND 1 CERTIFIED COPY OF TRANSCRIPT OF:
GREG BLACK 97.00 Pages @ 4.25 412.25
Exhibit 89.00 Pages @ 0.35 31.15
ORIGINAL AND 1 CERTIFIED COPY OF TRANSCRIPT OF:
JAMES LEE ZERVIS
Exhibit 481.00 Pages @ 0.35 168.35
MINIMUM CHG - ORIG, & 4 176.00 170,00
DELIVERY CHARGE 18.00 18.00
TOTAL DUE >>> $799.75

A finance charge of 1% (12% a.p.r.} will be charged to past-due accounts.

FRESNO - VISALIA - BAKERSFIELD — We have the Valley covered to serve you!
100% ACCESS to your transcripts, calendar, invoices, 24/7, | www. kelehers.com.

Office: Matter #_ GD: /

Matter Des: AE Manthena Ca
Client Name: _ AAC

Atty. Approv: ato Bt

Tax ID: XX-XXXXXXX

Phone: 661-322-3051 Fax:322-4628

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JEFFREY A. TRAVIS

BORTON, PETRINI

5060 CALIFORNIA AVENUE, 7TH FLOOR
Bakersfield, CA 93309

Remit To: KELEHER’S CERTIFIED SHORTHAND
REPORTERS
3406 UNICORN ROAD, SUITE 101
BAKERSFIELD, CA 93308

Job No. : 7435 BU ID :1-MAIN
Case No. : La7CV 01080 UO-WMWw
Case Name : McINTOSH VS. NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES COMPANY
Invoice No. : 9461 Invoice Date : 2/4/2009
Total Due : § 799.75
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Cardholder's Name:

Card Number:

Exp, Date: Phone#:

Billing Address:

Zip: Card Security Code:

Amount to Charge:

Cardholder's Signature: 306315

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INVOICE

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35766
BORTON PETRINI AND CONRON LLP

BOX 2026

BAKERSFIELD CA 93303

Please detach this portion and remit with Payment to:
Golden State Overnight
P.O, BOX 2508
‘Alameda, CA 94501

Account Statement

For questions about this invoice call 510-749-5300

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GOLDEN STATE OVERNIGHT le 800-322-5555 © PAYMENT DUE ON RECEIPT Page 4

A FINANCE CHARGE OF 14% PER MONTH WILL BE ASSESSED ON BALANCES OVER 30 DAYS.
INVOICE DATE: 01/27/2009

Client File Ne.: 054493/060971

Attorney'sCertified
SERVICES.

1734 16th Street, Suite H
Bakersfield, CA 93301

www.allomeyscertified.com

| FEB 172009 |.“ GAPPs Pouch #-042
Ho | (664) 327-8022

INVOICE NUMBER: Acs140085-1

Client No. 66132239051
LLP - Bakersfield

Bakersfield, CA 93309

Route#: ©
Phone: {661} 322-3051

Client Borton Patrini,
Address Stockdale Towers: 5060 California Avenue, Suite 700

Fax: (661) 322-4628

Contact: Cannie

Case No.. 1:07-CY-01080-L70-GsA
Court: UNITED STATES DISTRICT COURT |

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Defendant: Nerthern California Universal
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Stockdale Towers: 5060 California Avenue,

Bakersfield, CA 93309

Suite 706

Contact: Connie

Route: @
Phone: (661) 322-3051 Fax, (661) 322-4628
Client File No. 054493/060971 og
Case No. 1:07-CV-01080-L70-GSSA
Court: UNITED STATES DISTRICT COURT;
Plaintiff: MeIntosh, Roger
Defendant Northern California Universal
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Suite FHA, Stockdale Tower
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Phone; (661} 322-2651 Fax: (661} 322-4626
Client File Na.; 054493/660971

Court: UNITED STATES DISTRICT COURT
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Defendant: Northern Califernia Universe]:
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FRESNO, CA, 93744

Attomeys Diversified Services | PHONE (559} 233-1475 FAX (568) 486-4118

www .attorneysdiversified.com

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ATTN: ROXANNE L. FLOM # 107001 A
5060 CALIFORNIA AVENUE, 7TH FLOOR Case Nem RO ec Loss
BAKERSFIELD, CA 93309 vs NO. CALIF. UNIVERSAL, ET AL
Phone: (861) 322-3051 Client Typa:01 VITAL INFORMATION
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BAKERSFIELD CA 953010000. SUMMONS IN A CIVIL. GASE; ORDER GRANTING
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BEARS. meen COMPLAINT FOR COPYRIGHT INFRINGEMENT: DEMAND FOR JURY TOTAL DUE $ 166.00

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Bill to: BORTON PETRINI LLP

Wa “Date 7 . inveice ..

ATTN: ROXANNE L. FLOM | =
5060 CALIFORNIA AVENUE, 7TH FLOOR OTAL DUE $ 166.00

BAKERSFIELD, CA 93309 PAYMENT DUE DATE: 03/01/09
Remit Payment to: To pay by credit card, mail, fax or call (916) 441-4396

Attorney's Diversified Services .

PO Box 2799 CARD NUMBER:

Sacramento, CA 95812 NAME ON CARD:

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916 441-4395 FAX 916 443-1162. TYPE OF CARD: VISA MASTERCARD AMERICAN EXPRESS
IRS NO. XX-XXXXXXX EXPIRATION DATE: }

TERMS: 10 DAYS NET OF INVOICE DATE - ACCOUNTS OVER 30 DAYS WILL BE SUBJECT TO_3.0% MONTHLY
INTEREST - IN THE EVENT OF DEFAULT, COLLECTION FEES AND/OR ATTORNEY FEES WILL BE ASSESSED. s 0 G ato
Case 1:07-cv-01080-LJO-GSA ‘Document 342-1 Filed 03/30/10 Page 11 of 69

HALL st

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INVOICE Tax ID: XX-XXXXXXX
Borton Petrini, LLP ! February 10, 2009
5060 California Ave., Ste. 700 ID: 223589
Bakersfield CA 93309 | Invoice No: 297792

| WC Milks
BILLING SUMMARY

Fees For Professional Services through January 31, 2009 400.00
CURRENT SILL i 400,00
Previous Balance Due 0.00
Payments/Adjustments through February 10, 2009 (0.00)
Outstanding Previous Balance 0.00
TOTAL BALANCE DUE

ortce.” Al) Matter # f 4] |

Matter Des:

Cient Name;_.— h

400.00

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320 Sours Bastar AVENUE HALL, ESTILL, HARDWICK, GABLE, GOLDEN & NELSON

SUITE 200 A PROFESSIONAL CORPORATION
TuLsa, OK 74166-3706 WWW. HALLESTILL.COM
(9 18} 594-9406

OKLAHOMA Crry, OK
NORTHWEST ARKANSAS
WASHINGTON, D.C.

307148
Case 1:07-cv-01080-LJO-GSA Document 342-1 Filed 03/30/10 Page 12 of 69

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Borton Petrini, LLP ! February 10, 2009
ID: 223589 Yavoice No: 297792
Page 2

MATTER RECAP
Re: 01315, McIntosh vs, NCUE |
Fees For Professional Services: 400.00
Expenses and Advances: 09

Matter Total: 400.00

Case 1:07-cv-01080-LJO-GSA ‘Document 342-1 Filed 03/30/10 Page 13 of 69

HALL, ESTILL, HARDWICK, GABLE, GOLDEN & NELSON, P.C,

Borton Petnini, LLP
ID: 223589

Re:

PROFESSIONAL SERVICES

(01315) McIntosh vs. NCUE
Client/Matter Ref No.: 54493-60971

February 10, 2009
Invoice No: 297792
Page 3

DATE DESCRIPTION INIT HOURS
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development plans, (No Charge)
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SERVICES RECAP
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Case 1:07-cv-01080-LJO-GSA Document 342-1 Filed 03/30/10 Page 14 of 69 |
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LD. No, $5-3829175 \

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BAKERSHIELD, CA 93308 _  gf0s/20g9
Phone #2:(661)393-1856 Fax #: (661)393-0851 = — Lm
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Tu: : :
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j JEFF TRAVIS ~~
i PLEASE REFERENCE. TINS 1
BORTON-PETRINI : INVOICE MUMRER WHT
5060 CALIFORNIA AVENUE
7th FLOOR Mar, ¢ i
BAKERSFIELD, CA 93309
RE: McINTOSH vs. N.C.U.E,
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TOTAL BALANCE 1,008.07 |

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—. Case 1:07-cv-01080-LJO-GSA : OS {342-1 Filed 03/30/10 Page 15 of 69
—— € ESQUIRE Telephone (661) 322-2202
— Esquire - Bakersfield Toll Free (800) 300-1214
== 2700 Centennial Tower T J Fax (868) 590-4205
— 101 Marietta Street E S QO IRE
=—e Atlanta, GA 30303 | au Alexander Galla Campany Www. osquiresolutions.com
2004 Hap :
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JEFFREY TRAVIS ESQ. Gate of Loss
BORTON PETRINI, LLP - BAKERSFIELD Name of Insured
SUITE 700 Adjustor
5060 CALIFORNIA AVENUE Claim Number
BAKERSFIELD, C4 99309
Assignment Case : PL File Shipped Shipped Via
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Client Name: Lac dicks sh Balance Due : $ 333.10
Payment Due: 03/21/2009

Tax Number: XX-XXXXXXX

After Due Date Pay This Amount: $ 374,74

Company: Esquire - Bakersfield
Invoice Number: PL192163
Invoice Dale: 02/19/2009
Balance: $ 393,10

Oue Date: 03/21/2008

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Late Amount: $ 374,74

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Method of Payment

Amount Authorized

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Tall Free (800) 300-1214
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www.esquirasalutions.com

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(641) 395-1050 + TOLL FREE (800) 322-4595

Mr. James J, Braze
Borton Petrini LLP

INVOICE

Invoice No. Invoice Date Joab No.
10885 - 7/13{2009 6494
Job Date "Case No.
6/24/2009 107CV 01080 LIO-GSA
Case Name

Mcintosh vs. Narthem California Universal Enterprises
Company

Payment Terms

Stockdale Tower ,
5060 California Avenue Due upon receipt
Suite 700
Bakersfield, CA 93309
1. CERTIFIED COPY OF TRANSCRIPT OF: 2
Roger Alan McIntosh 150.00
TOTAL DUE >>> $150.00
Thank you! Your business is appreciated.
~We accept Visa, MasterCard and now American Express.~
1.2% Finance Charge assessed on accounts 30 days past due.
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Mr. James J. Braze CaseNo. +: £07CV 01080 LI0-GSA
Soe eate Tower. Case Name : McIntosh vs. Norther California Universal
5060 California Avenue Enterprises Company
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Bakersfield, CA 93309 : Total Due : $ 150.00
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& Professional Corporation Billing Address*
423 Truxtun Avenue . . .
Bakersfield, CA 93301 Ep: - Card Security Code:
Amount to Charge:
Cardholder's Signature: 31a0S7

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Telephone (661) 322-2202

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Esquire - Bakersfield
2700 Cantennial Tower
101 Marietta Street
Atlanta, GA 30303

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Invoice Date: 07/16/2009
Balance: $ 1,999.35

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Late Date: O8fs0/2009

Late Amount: $ 2, 499,29

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. Credit Card Number

Please Make Check Payable to Esquire

Exp. Date

Toll Free (800) 300-1214
Fax (866) 590-3205

www. esquiresolutions.com

Daytime Phone Number

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Signature (as it appears on your credit card)
City of Industry CA $1716-9509

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101 Marietia Street
Atlanta, GA 30303

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JEFFREY TRAVIS ,ESG,

BORTON PETRINI, LLP - BAKERSFIELD
SUITE 700

5060 CALIFORNIA AVENUE
BAKERSFIELD, CA 93309

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Telephone (661} 322-2202
Toll Free (800) 300-1214
Fax (866) 590-3205

www.esquiresolutions.com

invoice # PL166593

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Terms

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Date of Loss

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Jeffrey A. Travis

Borton Petrini, LLP

TEAM LEGAL, INC.
25876 The Old Road
Suite 314
Valencia, CA 91381
Phone: 66/1-948-4515
7089 AUG 28 ACE: 5h Fax: 661-948-4517
: Federal ID No.: XX-XXXXXXX

5060 California A Suite 700 Date: 26/2008
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Regarding: Borton/Mcintosh/Northem California Universal
Case Reference: Mcintosh vs. Norther Ca
Start Date Staff Description Quantity — Price Charges
8/26/2009 SO Rush attempted service upon Josh Woodard at 1.00 $99.56 $89.50

8/26/2009 SO

8/26/2008 SO

8/26/2008 SO

4039 Edgewater Court, Redding, CA 96003. This is
a bad address for service. Per current occupant, the
Subject does not live at this address, Upon address
verification, we were able to locate & new viable
address for service at) 3650 Orion Way, Redding,
CA 96002.

Rush attempted servite upon Josh Woodard at 1.00 $99.50 $99.50
business address of 1567 Yuba Street, Redding,
CA 96001. This is a bad address for service. Per
current employee, the Subject no longer works at
this address. :

Field Locate - Located a new viable address for 1.60 $36.25 $36,25
service at 3550 Orion: Way, Redding, CA 86002.
Rush Service of Process upon Josh Woodard 1.00 $99.50 $99.50

located at 3550 Orion Way, Redding, CA 96002
completed as requested on August 26, 2009 at

11:54am.
8/26/2008 SO Fees Advanced for statutory witness fees. 1.00 $45.00 $45,00
Subtotat $379.75
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BO/10 Page 35 of 69

Civil Action No.
PROOF OF SERVICE
(This section shouid not be filed with the court uniess required by Fee

This subpoena for (name of individual and title, if any)

was received by me on (date) 08/25/2009

wf 1 personally served the subpoena on the individual at @iuce) 3550 Orion Wa
: O8/;

On (daze)

(J I left the subpoena at the individual’s residence or usual place of abode with

, aperson of suitable age an

, and mailed a copy to the individual’s last known ad

on (date)

&1 [served the subpoena on (name af individual)

Josh Wooday

i RR. Civ. P. 45.)

oa

y, Redding, CA 96002___

26/2009 5 or

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id discretion who resides there,

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, who is

designated by law to accept service of process on behalf of (name af organization)

On (date)

Or

© Iretumed the subpoena unexecuted because

O} Other (specify):

Unless the subpoena was issued on behalf of the United States, or one of its offic
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$ 45.00

My fees are $ 0.00 for travel and $ | 99.50

for services, for:

T declare under penalty of perjury that this information is true,

Tate: 08/26/2009

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‘ATTORNEY'S DIVERSIFIED SERVICES

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Attorneys Diversified Services PHONE (559) 233-1476 FAX (559) 496-4119
www attorneysdiversified.com . be tee
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7 : 3223051 05/28/2008 0C276537-01
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ATTN: VANESSA J. CLARIDGE
5060 CALIFORNIA AVENUE, 7TH FLOOR
BAKERSFIELD, CA 93309

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(816) 441-4356 FAX: (918) 443-1 162

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BORTON PETRINI LLP

ATTN: JOANNE BALDUC

6060 CALIFORNIA AVENUE, 7TH FLOOR
BAKERSFIELD, CA 83309

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JEFFREY A. ‘TRAVIS, Esq.
Borton Petrini Law Offices McIntosh v Northern California Universal
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TAXIDNO.: XX-XXXXXXX {661} 322-3051 9 Fax (661) 322-4628 .

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JEFFREY A. TRAVIS, Esq.
Borton Petrini Law Officcs

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Bakersfield, CA 93309 Date 2 09/35/2009
TOTAL DUE : 218.85
Job No. : Ql-28424
Case No. : 1:07-CV-O1080-LJO-GSs8A

Mcintosh v Northern California Unive

Remit To: J.V. Killingsworth & Associates
1422 Oregon Sfrceet
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BORTON PETRINI AND CONRON LLP
PO BOX 2026

BAKERSFIELD CA 93303

P.O. BOX 2508
Alameda, CA 94501

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A FINANCE CHARGE OF 144% PER MONTH WILL BE ASSESSED ON BALANCES OVER 30 DAYS.
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Metter Des:fAclalnasin ns 25876 The Old Road
Suite 314
Valencia, CA. 91381
Phone: (661) 964.0154
Fax: (661) 255-7484
Federal ID No.: XX-XXXXXXX

Jeffrey A. Travis
Borton Petrini, LLP Date: 2/08/2010
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Case 1:07-cv-01080-LJO-GSA Document 342-1 Filed 03/30/10 Page 52 of 69

TEAM LEGAL, INC.
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Case 1:07-cv-01080-LJO-GSA Document 342-1 Filed 03/30/10 Page 53 of 69

Jeffrey A, Travis

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Valencia, CA 91381

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5060 California Avenue, Suite 700

Bakersfield, CA 93309

Ordered By: Vanessa Claridge

Regarding:

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Date: 4/26/2010
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For questions about this invoice call 800-322-5555 Ext. 6

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. Account Name: FIRM GENERAL ACCOUNT
Check Number. 387754 Account Number: 4000048314
Posting Date: 03/02/2010 Routing Number. 121000248
As OF Date: 03/02/2070 Type Code/Description: 475/CHECK PAID

Item Sequence Number: 008245680125

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Case 1:07-cv-01080-LJO-GSA Document 342-1 Filed 03/30/10 Page 59 of 69

TRAM LEGAL, INC.
25876 The Old Road
Suite 314

Valencia, CA 91381
Phone: (661} 964-0154

200 FEB 24 A Ii: 23 Fax: (661) 255-7484
Federal ID No.: XX-XXXXXXX
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Jeffrey A. Travis
Borton Petrini, LLP Date: 2193/2010
5060 California Avenue, Suite 700 : .
Bakersfield, CA 93309 Invoice No: 0820556
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Regarding: Borton/McIntosh/Northerm Califomia Universal | i i “are i
Case Reference: McIntosh vs. Northern Ca L ACCOU NTING
at
Services Rendered wa
Date Staff Description Hours Rate Charges
2/0/2010 30 Waiting Time to completed service upon Terry W. 0.50 $55.00 $27,50
Schroepfer, P.E. at 1800 30th Street, Suite 280,
Bakersfield, CA 93301 on February 10, 2010,
Subtotal $27.50
StartDste_ Staff Description Quantity Price _ Charges
2/04/2010 SO Attempted service upon Terry W. Schroepfer at 1.00 $45.50 $45.50

7025 Luke Avenue, Bakersfield, CA 93308, Unable
te get an answer at the door during any of the
attempts. Received a new address for service from
your office on February 4, 210.
2/10/2010 SO Service of Process upon Terry W. Schroepfer, P.E. 1.00 $45.50 $45.50
located at 1800 30th Street, Suite 280, Bakersfield,
CA 93301 completed as requested on February 10,
2016 at 11:55am.
2/11/2010 SO Service of Process upon Robert Wren focated at 1.00 $69.56 369.50
City of Wasco, 748 8th Street, Wasco, CA 93280
completed as requested on February 11, 2010 at
2:01pm.

Subtotal $160.50
Office: SS) Matter # <n PY}

Total New Charges $188.00
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a Account: 499804816)

Date Range: January 01, 2010 - January 31, 2010
Report Format: Summary-Account by Client

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Account by Client Time Transactions Docs/Lines Time Charge Discount

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PO BOX 2026 P.O. BOX. 2508
BAKERSFIELD CA 93303 Alameda, CA 94504
For questions about this invoice call 800-322-5555 Ext. 6
Account Statement GSO Service Types
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SDS: Priority Saturday Service
EPS: Early Overnight Service
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CPS: Califomia Parcel Service
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A FINANCE CHARGE OF 14% PER MONTH WILL BE ASSESSED ON BALANCES OVER 30 DAYS. 3 D 2 oC
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PO BOX 2026 P.O. BOX.2508
BAKERSFIELD CA 93303 | Alameda, CA 94501

For questions about this invoice call 800-322-5555 Ext. 6

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EPS: Early Overnight Service

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CPS: California Parcel Service
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Page 2
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1100 18th Stroot _ =#ses060TT2
Bukersfiald, GA 93301

PHONE (661) 327-2504

FAX (681) 327-9285

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Jeffrey A. Travis
Borton Petrini, LLP

5060 California Avenue, Sulte 700
Bakersfield, CA 93309

Ordered By: Vanessa Claridge

Regarding:

Gase Reference:

Start Date _

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Staff
JW

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TEAM LEGAL, INC.
95876 The Old Road

Suite 314

Valencia, CA 91381
Phone: (661) 964-0154
Fax: (661) 255-7484
Federal ID No.: XX-XXXXXXX

Date:
Invoice No:

TL Work Order #'s:
17331

Bortan/Meintesh/Northern California Universal
Nelntesh vs. Northern Ca

Description

Service of Process upon Sarah Burgl located at
5001 California Avenue, Sulte 120, Bakersfield, CA

93309 completed aa requested on January 28, 2010

at 14:33am.

Attempted service upon Sarah Burgl at 3124 Bank 4.00
Street, Bakersfield, CA 93304, Per female

occupant, the Subject was at work and she provided

us with the location,

Field Locate - Located a viable address for service 1.00
upon Sarah Burgi of: Gannon, 5001 Callfomia

Avenue, Suite 120, Bakersfield, CA 93309.

Service of Process upon Gregg Black located at 4.00
4118 Sungro Way, Bakersfield, CA 93371

completed as requested on January 26, 2010 at

1h:47am.

Service of Process Gerald Helt located at 2920 4,00
Union Avenue, Bakersfield, CA 93305 compleied as

requested on January 26, 2010 at 10:12am.

Service of Process upon Larry Pennell located at 7,00
4109 Cypress Avenue, Wasco, CA 93280

completed as requested on. Janvary 26, 2010 at

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Service of Pracess upon Dennis McNamara located 4.00
at City of Wasco, 746 8th Streel, Waseo, CA 93250

completed as requested on January 26, 2010 at

7:37am. ,

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Process upon Jim Zervis located at City of Wasco,
746 Sth Street, Wased, CA 93280 completed as
requested on January 26, 2010 at 7:44am.

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(1000804816) |
Date Range: February 01, 2010 - February 28, 2010
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